       Case 8:18-cv-00883-PWG Document 171 Filed 11/05/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Southern Division

                                                  *
AMERICAN ACADEMY OF
  PEDIATRICS et al.,                              *
       Plaintiffs,                                *
v.                                                *        Case No.: PWG-18-883

FOOD AND DRUG ADMINISTRATION,                     *
  etal.
                                                  *
       Defendants.
                                                  *
*      *       *       *      *       *       *        *      *       *      *       *       *      *
                                     JUDGMENT ORDER

       Upon the request of the intervenor trade associations under Federal Rule of Civil Procedure

58(d) (see ECF No. 170), and for the reasons stated in its Memorandum Opinions and Orders

issued on May 15,2019 and July 12,2019 (ECF Nos. 73, 74, 127) and clarification Order entered

August 12, 2019 (ECF No. 132), this Court herein enters final judgment as follows:

           1. Judgment is entered in favor of Plaintiffs against Defendants, all parties to bear
              their own costs;

           2. As stated in its Memorandum Opinion and Order of July 12,2019, ECF No. 127,
              this Court retains jurisdiction only to perform ministerial acts to ensure that, if the
              need arises, further action could be taken by the Court; and

           3. This Order shall be deemed to e         final judgment within the meaning of Fed. R.
              Civ. P. 58.

       Dated: November 5, 2019.


                                          Paul W. Grimm
                                          United States DistrictJudge
